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IN THE CIRCUIT COURT OF COAHOMA COUN'I`Y, MISSISSIPPI

IDA MAE COOPER, DECEASED, BY AND

‘ Tl-IROUGH LEE DORA FIELDS, AS

ADMINISTRATRIX AND AS REPRESENTATIVE

OF THE WRONGFUL DEATH BENEFICIARIES

OF IDA MAE COOPER, DECEASED PLA[NTIFF_S

VS_ _ " ' civILAc'noNNo. '__C_ » SU§/O

FRESENIUS MEDICAL CARE HOLDINGS, INC.

DfBJ'A FRESENIUS ]\rfEDICAL CARE NORTH_ AMER]_CA;

FRESENIUS MEDICAL CENTER - CLARKSDALE; -

AND JOHN DOES_ 1-10 _ DEFENDAN'I.`S

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Comcs now the Plaintifi`, Lee Dora Fieids, as Administratrix of the Estate and as

Representative of the Wrongful Death Bencficiaries of lda Mae Cooper, Deceased, by. and

through counsel, and_for his cause of action against the Defendants herein, states and alleges as

follows:
I. INTROD`UCT]ON '

l. This is an action for damages, including both survival and wrongful death aetions,
sustained by Ida Mae Cooper, arising from the negligent treatment, abuse, and neglect
she suffered while she was a patient at Fresenius Medical Care Clarksdale in Clarltsdale,
Mississippi and was in the-care of their employees or agents from on o`r about August 12,
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ll. PARTIES

2. I_,ee Dora Fields is an adult resident of Drew, Mississippi. Lee Dora Fields was the sister

of Ida Mae Cooper, Deceased, who resided at l 138 Page Avenue, Clarksdale, MS,

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-38614. Following the death of Ida Mae Cooper, l_,ee Do'ra Fields, was duly appointed l
hand qualified as the Administratrix of the Estate of Ida Mac Cooper, Deceased, by the
Chancery Court of Coahoma County, Mississippi.
Upon information and belief, Fresenius Medical Care-Clarksdale is located at 2010 N_Ot'th -_
State Street,__Clarksdale, Mississippi, 38614 and is owned, managed and!or operated by
Fres'enius Medical iIare North America Holdings, Limited Partnership, whose principal
place of business is listed as 920 Winter Street, Waltham, MA 02451-145? and is
owned, managed andfor operated by RCG Mississippi, lnc., it may be served with
process by serving CT Corporation System at 645 Lakelaiid East Drive; Suite 101,
, Fl@wood; Ms., 39232. '
That Fresenius Medical Care Clarksdale is a facility owned, operated andfor managed by
Fresenius Medical Care North'America Holdings, Limited Partnership, and it may be
served with process through its Manager, Susan Caudell, at 2010 lNorth State Street,
Clarksdale,` MS 38014. `
John Doe Owners l through ]0, are upon information and belief additional entities andfor
individuals, identity and residency currently unknown or indefinite, who owned,

controlled, andf'or managed the facility known as Fresenius Medical Center Clarksdale

located at 2010 North State Street, Clarksdale, MS 38614, who provided medical dialysis

treatments to the decedent, lda Mae Cooper. Plaintiff reserves the right to identify or
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change the identity of these defendants based upon discovery.
-I]]. GENERAL -`FACTUAL' ALLEGATIONS

Ida Mae Cooper was an adult resident citizen of Coahoma County, Mississippi who was

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diagnosed in 2009 with ESRD (End Stage Renal Disease), which required hemodialysis.
Hemodialysis is the process of pumping blood through a dialyzer with a dialysate that
cleans the blood before returning it to the body. Defendant employed non-medical
personnel that provided this service to `l da Mae Cooper on her numerous visits to their
facility, especially the visit ofAugust 12, 201 3. l

Alter being dialyzed on August 12, 2013, Ms. Cooper returned to her home where she
lived with her son, Ronald Cooper. `By the next morning, Ronald Cooper found his
mother, Ida Mae Cooper, in her bed with large amount of blood on the sheets. Ms.
Cooper had become weak and lethargic. Mr. Cooper called the ambulance By the time
they arrived, Ms. Cooper had become unresponsive The Ambulance Sel'vice transported n
her to Northwest Mississippi Regiona] Medical Center where she was pronounced dead

due to AV Shunt hemorrhaging.

_ lt was determined that the cause of]da Mae Cooper’s death was due to hemorrhage from

ruptured vascular aneurysm which lead to congestive heart failure
COUN'I` I
DIALYSIS CENTER’S OWNER, MANAGEB, OPERATOR
The Defendants held their facility located in Clarksdale, Mississippi, out to be specialist

in the field of hemodiaylsis, with the expertise, staff and resources necessary to provide

_ dialysis in a prudent and safe manner for the patients, including ida Mae Cooper;

The Defendants, their staff and employees were under a duty to provide reason able and
adequate health care to Ida Mae Cooper consistent with existing community standards;

At all times pertinent hereto, Ida Mae Cooper was a patient of the Def`endant for the

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purpose of_ having hemodialysis performed as a medical procedure, and as such, her
medical health and safety was under the control and care of Defendant’s employees,
agents, oiiicers, and servants;

The Defendants, their ofticers,-agents, and employees, failed, refused,_ or neglected to

- perform their duties to provide reasonable land adequate care to and-for lda Mae Cooper,

who relied upon the Defendant’s competence and experience in providing adequate and
safe hemodialysis;

The Defendants, their employees, agents, ofti cers, and servants, negligently and
carelessly provided hemodialysis to Ida Mae Cooper by employing non-medical

personnel to perform dialysis and all of the alleged acts, omissions, and occurrences

s herein described were performed by their employees, agents, ofticers, and servants within

the course and scope of their agency and employment with Defendants and in _li.trtherance
of Defendants‘ business;

After receiving hemodialysis on August 12, 2013, lda Mae Cooper’s AV Shunt on her l
left arin that was used to received hemodialysis at the Defendant’s clinie, ruptured,
causing her to bleed out while she slept. Upon being discovered by her son,‘Ronald
Cooper, emergency medical personnel were summoned to their home, where life saving
measures were started and continued by the emergency department personnel at
Northwest Missis`si ppi Regional Medical Center. When life saving measures were not
effective, Ms. Cooper was pronounced dead 0 August 13, 2013. Upon taking a history of
events and a physical exam i'nation, it was determined by the medical staff at Northwest

Missi ssippi Regional Medical Center that ida Mae Cooper’s primary cause of death was

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hemorrhage from a ruptured vascular aneurysm.

As a result of the negligence of the Defendant, Ida Mae Cooper sustained serious injuries
including, emotional trauma', and physical injuries including, but not limited to, severe
hemorrhagng from her AV Shtmt in her left arm and her untimely death. Said injuries
having occurred as a direct result of the improper care provided by the staff, agents,
representatives and employees of the Defendant;

The aforementioned acts of negligence included physical contact with lda Mae Cooper,
and were outrageous and performed wilfully, wantonly, and with complete disregard of
Ms. Cooper‘s rights, and in reckless indifference to the rights of olhers, and those acts l
further shock the conscience of the community;

Upon information and belief, Defendants failed to carry out these duties which
constitutes a violation of Miss_. Codc Ann. § 43-4')'-19 which makes it unlawful for any
person “to commi[t] an act or omi[t] the performance of any duty, which act or omission
contributes to, tends to contribute to or results in the abuse, neglect or exploitation of any
vulnerable adult .” 'I`his failure contributed to or tended to contribute to abuse, neglect
or exploitation of Ida Mae Cooper. Ida Mae Cooper falls within the class of persons the
this statute is intended to protect, thus entitling her to adopt such laws as the standard of
care for measuring Defendant’s conduct. Thus, the Plaintiff asserts that the conduct of
Defendant amounts to negligence per se, entitling Plaintift" to damages for personal injury
to Ida Mae Cooper and punitive damages for the willill, wanton andl'or capricious
conduct of these Defendants in proximately causing and)'or contributing to the above

described damages

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Upon information and belief, Defendant wrongfully failed to carry Ou“t these duties which
failure proximately caused injuries to lda Mae Cooper. Separate and apart from Miss.
Code Ann. § 43-4")‘-19, Defendant’s conduct failed to meet the standard of care in the
hemodialysis industry owed by providers of skilled medical staff to patients such as lda
Mae Cooper thus constituting common law negligence and gross negligence entitling
Plaintiff to damages for personal injury to lda Mae lCooper and punitive damages for the
wilful, wanton and!or capricious conduct of these Defendants in proximately causing
andi'or contributing to the above described damagesl
COUNT II

DlALYSIS CENTER’S TECHN]CIAN NEGLIGENCE
Plaintiff incorporates by this reference the previous paragraphs of this Complaint as if
fully re-written herein;
The Defendant's Dialysis Technicians are being sued in their individual capacity-for their
own acts of negligence n l
Dialysis Technicians at all times material to this action shared in the responsibility for the
safe and proper.administration of hemodialysis of lda Mae Cooper while she was in their
care at the Defendant’s facility in Clafksdale, Mississippi.
ln carrying out their duties, the Dialysis Technicians_should have had direct contact and
opportunity to observe lda Mae Cooper throughout'the day. n
Dialys_is Technicians, at all"times pertinent hereto, had a duty to provide the level of care
in performing hemodialysis to lda Mae Cooper that Defendant represented that it would

provide

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Dialysis Technicians, by their own actions andfor omissions, carelessly and negligently
failed to provide adequate he'modialysis to l da Mae Cooper which actions included, but
are not limited to, to wit:

a. Failing to observe lda Mae Cooperl sufficiently to become aware of acts of neglect

lda Mae Cooper;

b. Failing to observe lda Mae Cooper sufficiently to become aware of changes in her
condition;
c. Failing to immediately report to supervisory personnel matters related to lda Mae

Cooper’s condition, safety and well being;
d. F ailing to notify superiors when there was a problem with the AV Shunt to lda
Mae Cooper’s left arm;
e. ' Failing to notin superiors of a bleeding AV Shunt to lda Mae Cooper’s left arm;
f. Failing to recognize and report to supervisors medical conditionsi'symptoms
which required additional attention or which hastened lda Mae Cooper’s untimely
death; and
g. Failing to provide appropriate care to prevent hemorrhaging',
Upon information and belief, Dialysis Technicians failed to carry out these duties which
constitutes a violation of Miss. Code Ann-"§ 43-4'}'-19 which makes it unlawhil for` any
person “to commi[t] an act or omi[t] the performance of any duty, which act or omission
contributes to, tends to contribute to or results in the abuse, neglect or exploitation of any
vulnerable adult .” This failure contributed to or tended to contribute to abusc, neglect

or exploitation of lda Mae Cooper. lda Mae Cooper falls within the class of persons the

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this statute is intended to protect, thus entitling her to adopt such laws as the standard of
care for measuring Defendant-’s conduct. Thus, the Plaintiff asserts that the conduct of the
Dialysis Technicians amounts to negligence per se, entitling Plaintiff to damages for
personal injury to lda Mae Cooper and punitive damages for the wilful, wanton and)'or
capricious conduct of these Defendants in proximately causing and!or contributing to the
above described damages.

Upon information and belief, Di_alylsis Technicians wrongfully failed to carry out these
duties which failure proximately caused injuries to lda Mae Cooper. Separate and apart
from Miss. Code Ann. § 43-4?-19, Dialysis 'I`echnicians’ conduct failed to meet the
standard of care in the dialysis industry owed by direct care workers to patients such as
lda Mae Cooper thus constituting common law negligence and gross negligence, entitling
Plaintiff to damages for personal injury to lda Mae Cooper and punitive damages for the
willitl; wanton and/or capricious con duct of these Defendants in proximately causing
andi'or contributing to the above described damages n
'Ihose Defendants whom Dialysis Technicians acted as agent for or who employed them
or supervised or directed hisfher actions are also being sued in this count under theories
of vicarious liability. l

Those Defendants who recommended the hiring or retention of Dialysis Technicians, or
who supervised their work or who participated in their training are also being sued under y
this Count for independent negligence in carrying out their duties related to -
recommending, hiring, training, evaluating, supervising, and reviewing the work of

Dialysis Technicians

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COUN'I` I]]
INFLICTION OF EMOTIONAL DISTRESS

Plaintiff incorporates by reference the previous paragraphs of this Comp|aint as if fully

' re-Written herein.

The acts of each of the Defendants set forth above were outrageous and performed
willillly, wantoniy, and with complete and reckless disregard of Ida Mae Cooper’s rights
and the rights of her family, and those acts hether shock the conscience of the
community and caused Ida Mae Cooper and her family to suffer severe mental anguish
and emotional distress.
COUNT IV

WRONGFUL DEATH
Plaintiff incorporates by reference the previous paragraphs of this Complaint as if fully
re-written herein.
The negligent and wrongiiil acts of each of the defendants set forth above was a
proximate contributing cause of the death of Ida Mae Cooper.
As a result of the death of ]da Mae Cooper, caused by Defendants Wrongiill actions,
Plaintiffs have suffered damages including funeral and medical expenses, the present net
cash value of the life expectancy, the loss of society and oompanionship, the pain and
suffering of Ida Mae Cooper between the time that her AV Shunt ruptured and her
subsequent demise
As- lda Mae Cooper’s death was caused by acts which constitute gross negligence

Plaintiffs are entitled to exemplary or punitive damages for the wilfu|, wanton and!or

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capricious conduct of these Defendants in proximately causing auditor contributing to the

above described damages.

WHEREFORE, Plaintiff prays for:

A.

Judgment on Countl of this Complaint in an amount to be proven at tri al, but in excess
of the jurisdictional amount of the Court; ll l

Judgment en Count ll of this Complaint in an amount to be proven at_ trial, but in excess
of the jurisdictional amount ofthe Court;

Judgment on Count III of this Complaint in an amount to be proven at trial, but in excess
of the jurisdictional amount of the Court;
1Judgment on Count IV of this Coniplaint in an amount to be proven at tri al, but in excess
of the jurisdictional amount of the Court;

Exemplary and punitive dam ages on each Count herein in an amount reason ably
calculated to prevent the culpable defendants and others from engaging in such conduct
in the future;

Past mental and physical pain, distress, suffering and inconvenience in an amount to be

proven at trial

_ Past medical expenses in an amount to be proven at trial

Miscellaneous expenses incurred by Plaint.i-ffs, including but not limited to travel

expenses, necessitated by the negligent acts of any of the defendants or those whose

_ actions they were responsible for;

Pre-judgment and post-judgment interest where applicable;

For Trial by Jury on those issues so triable;

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For Trial by ]ury on those issues so triable;

For PlaintiH’s costs,' including reasonable attorneys fees, incurred in connection with this
matter; and

For any and all other relief to which Plaintitf may be entitled in law or equity.

Respectfuliy submitted,

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G`="o nos 5 H eL 0WELL, JR.
- tomey for Plaintift` _
P.O. Drawer ]40?
Greenv'ille, MS 38?02-140?

Telephone: (662) 3?8 3103

Facsimne; (662) 373 3420
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ATTORNEY’S AFFIDAVIT OI_" PRE-CERTIFICATION

I, George F. Hollowell, Jr., have reviewed the facts of this case and have consulted with

an experts qualified to give expert testimony-as to the standard of care and!or negligence and said
experts are knowledgeable in the relevant issues involved in this particular action. l have

. concluded that upon the basis of my review and consultation that there is a reasonable basis for

the commencement of this action a ainst the Defendant(s).
THIS, the lola/day et Jil‘|)\l 2015

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STATE OF MISSISSIPPI
COUNTY OF WASHINGTON

! SUWORN TO AND SUBSCRIBED BEFORE ME, on this the l f`l-£`J¢ day of

,2015.

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